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                       UNITED STATES DISTRICT COURT FOR THE
                           SO U THERN DISTRICT O F FLORIDA
                         CaseNum ber:14-20052-CR-M ARTINEZ

  UN ITED STA TES O F A M ERJCA ,

         Plaintiff,
  VS.

  RO GER BER GM AN ,

         Defendant.
                                            /

              O R D ER A D O PTIN G M A G ISTR ATE'S A M EN D ED R EPO RT AN D
                                   R EC O M M END A TIO N S

        THIS CAUSE came before the Courtupon the Am ended Reportand Recommendations

 regardingCriminalJusticeActVoucherFLS 14 1725-02 issued by United StatesM agistrateJudge

 Jonathan Goodman,on November3,2014 (D.E.No.220),recommendstothisCourt,thatCJA
 Voucher FLS 14 1725-02 be Granted and that Terence Lenam on,PA be paid a totalsum of

 $55,841.85asfairandfinalcompensation forhisworkon thiscaseduringtheperiod covered bythis

 voucherrequest. Thepartieswereafforded the opportunity to file objectionsto theReportand
 Recom m endation,howevernone w ere filed. A ccordingly,the Courthasconsidered the Reportand

 Recomm endations,the pertinentparts ofthe record,forthe reasons stated in the Reportofthe

 M agistrate Judge,and upon independentreview ofthefileandbeing otherwisefully advised in the

 prem ises,itis

        ORDERED AND ADJUDG ED thatUnited StatesM agistrate Judge Jonathan Goodm an's

 AmendedReportandRecommendations(D.E.No.220),isherebyADOPTED andAFFIRM ED.
 TheReportandRecommendationsonCounsel'sCJA VoucherRequestforAttorney'sFees(D.E.NO.
 217)isdenied asmoot.
        D O NE AN D O R D ER ED in Cham bersatM iam i,Florida,this t
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                                                                   .Q.dayofNovember,2014.

                                                 JO SE .M AR IN EZ
                                                 UN IT   STA TES DISTRICT JU D GE
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 Copiesprovidedto:
 M agistrateJudge Goodm an
 Terence Lennm on,PA
 Lucy Lara,CJA A dm inistrator




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